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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL
 Case No.       CV 17-03035-TJH-(JCx)                                                  Date      APRIL 22, 2021

 Title     Star Fabrics Inc v. GenX Clothing Inc et al.,



 Present: The Honorable            TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE


                  Yolanda Skipper                                                         Not Reported
                    Deputy Clerk                                                         Court Reporter


             Attorneys Present for Plaintiffs:                               Attorneys Present for Defendants:
                         Not Present                                                      Not Present

 Proceedings:       IN CHAMBERS - Order To Show Cause Re: Dismissal for Lack of Prosecution


Absent a showing of good cause, an action must be dismissed without prejudice if the summons and complaint are not
served on a defendant within 90 days after the complaint is filed. Generally, defendant must answer the complaint within
20 days after service (60 days if the defendant is the United States.)


In the present case, it appears that one or more of these time periods has not been met. Accordingly, the court, on its own
motion, orders plaintiff(s) to show cause in writing on or before JUNE 11, 2021 why this action should not be dismissed
for lack of prosecution.


As an alternative to a written response by plaintiff(s), the Court will consider the filing of one of the following, as an
appropriate response to this Order To Show Cause, on or before the above date, as evidence that the matter is being
prosecuted diligently:


Plaintiff's noticed motion for entry of default judgment pursuant to Rule 55b of the Federal Rules of Civil Procedure re the
remaining defendant.


It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action diligently, including filing
proofs of service and stipulations extending time to respond. If necessary, plaintiff(s) must also pursue Rule 55 remedies
promptly upon the default of any defendant.


All stipulations affecting the progress of the case must be approved by this Court. (Local Rules 7-1 and 7-2).
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No oral argument of this matter will be heard unless ordered by the Court. The Order will stand submitted upon the filing
of a responsive pleading or motion on or before the date upon which a response by plaintiff(s) is due. This action will be
dismissed if the above mentioned documents are not filed by the date indicated above.


IT IS SO ORDERED.




cc: all counsel

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